Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 1 of 11            FILED
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Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 2 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 3 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 4 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 5 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 6 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 7 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 8 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 9 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 10 of 11
Case 2:19-cv-01771-CLM Document 1 Filed 10/31/19 Page 11 of 11
